             Case 1:17-md-02800-TWT Document 23 Filed 12/08/17 Page 1 of 6




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

 IN RE EQUIFAX, INC., CUSTOMER                       MDL DOCKET NO. 2800
 DATA SECURITY BREACH                                1:17-md-2800-TWT
 LITIGATION
                                                     ALL CASES



                                   CASE MANAGEMENT ORDER NO. 1


           It appearing that this case may merit special attention as complex litigation, the

court ORDERS:

           1.         Initial Conference. The court will hold the initial case management

conference on January 9, 2018, at 10:00 a.m. in Courtroom 2108, United States

Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303.

                      (a) Attendance. To minimize costs and facilitate a manageable

                      conference, parties are not required to attend the conference, and parties

                      with similar interests are expected to agree to the extent practicable on

                      a single attorney to act on their joint behalf at the conference. Mr. David

                      Worley will make arrangements for others to monitor the conference by

                      telephone. A party will not, by designating an attorney to represent its

                      interests at the conference, be precluded from other representation during

T:\ORDERS\17\In re Equifax\case management.wpd
             Case 1:17-md-02800-TWT Document 23 Filed 12/08/17 Page 2 of 6




                      the litigation; and attendance at the conference will not waive objections

                      to jurisdiction, venue, or service.

                      (b) Service List. This order is being served electronically on the persons

                      registered with the Northern District of Georgia’s CM/ECF system and

                      appearing as counsel in any of these cases currently filed in or

                      transferred to this court. The clerk’s office will mail copies of the order

                      to others. Counsel are requested to forward a copy of the order to other

                      attorneys who should be notified of the conference. After the initial

                      conference, all attorneys participating in these cases will be required to

                      be registered with the court’s CM/ECF system.

                      (c) Other Participants. Persons who are not named as parties in this

                      litigation but may later be joined as parties or are parties in related

                      litigation pending in other federal and state courts are invited to attend

                      in person or by counsel.

           2.         Purposes and Agenda. The conference will be held for the purposes

specified in Fed. R. Civ. P. 16(a), 16(b), 16(c), and 26(f) and subject to the sanctions

prescribed in Rule 16(f). Counsel are encouraged to advise the court as soon as

possible of any items that should be added to the agenda.




T:\ORDERS\17\In re Equifax\case management.wpd     -2-
             Case 1:17-md-02800-TWT Document 23 Filed 12/08/17 Page 3 of 6




           3.         Preparations for Conference

                      (a)        Procedures for Complex Litigation. Counsel are expected to

                                 familiarize themselves with the Manual for Complex Litigation,

                                 Fourth and be prepared at the conference to suggest procedures

                                 that will facilitate the just, speedy, and inexpensive resolution of

                                 this litigation.

                      (b)        Initial Conference of Counsel. Before the conference, counsel

                                 should confer and seek consensus to the extent possible with

                                 respect to the items on the agenda, including a proposed discovery

                                 plan under Rule 26(f) and a suggested schedule under Rule 16(b)

                                 for joinder of parties, amendment of pleadings, consideration of

                                 any class action allegations, motions, and trial.

                      (c)        Preliminary Reports. Counsel will submit to the court by January

                                 5, 2018, a brief written statement indicating their preliminary

                                 understanding of the facts involved in the litigation and the critical

                                 factual and legal issues. These statements will not be filed with the

                                 clerk, will not be binding, will not waive claims or defenses, and

                                 may not be offered into evidence against a party in later

                                 proceedings.


T:\ORDERS\17\In re Equifax\case management.wpd          -3-
             Case 1:17-md-02800-TWT Document 23 Filed 12/08/17 Page 4 of 6




                      (d)        List of Affiliated Companies and Counsel. To assist the court in

                                 identifying any problems of recusal or disqualification, counsel

                                 will submit to the court by January 8, 2018, a list of all companies

                                 affiliated with the parties and all counsel associated in the

                                 litigation.

                      (e)        List of Pending Motions. Counsel's statement shall list all pending

                                 motions.

           4.         Interim Measures. Until otherwise ordered by the court:

                      (a)        Admission of Counsel. Attorneys admitted to practice and in good

                                 standing in any United States District Court are admitted pro hac

                                 vice in this litigation. Association of local co-counsel is not

                                 required.

                      (b)        Pleadings. Each defendant is granted an extension of time for

                                 responding by motion or answer to the complaint(s) until a date to

                                 be set at the conference.

                      (c)        Pending and New Discovery. Pending the conference, all

                                 outstanding disclosure and discovery proceedings are stayed and

                                 no further discovery shall be initiated. This order does not (1)

                                 preclude voluntary informal discovery regarding the identification


T:\ORDERS\17\In re Equifax\case management.wpd         -4-
             Case 1:17-md-02800-TWT Document 23 Filed 12/08/17 Page 5 of 6




                                 and location of relevant documents and witnesses; (2) preclude

                                 parties from stipulating to the conduct of a deposition that has

                                 already been scheduled; (3) prevent a party from voluntarily

                                 making disclosures, responding to an outstanding discovery

                                 request under Federal Rule of Civil Procedure 33, 34, or 36; or (4)

                                 authorize a party to suspend its efforts in gathering information

                                 needed to respond to a request under Rule 33, 34, or 36. Relief

                                 from this stay may be granted for good cause shown, such as the

                                 ill health of a proposed deponent.

                      (d)        Motions. No motion shall be filed under Rule 11, 12, or 56

                                 without leave of court and unless it includes a certificate that the

                                 movant has conferred with opposing counsel in a good-faith effort

                                 to resolve the matter without court action.

                      (e)        Orders of Transferor Courts. All orders by transferor courts

                                 imposing dates for pleading or discovery are vacated.

           5.         Later Filed Cases. This order shall also apply to related cases later filed

           in, removed to, or transferred to this court.

           6.         Applications for Lead and Liaison Counsel Appointments. The court

intends to appoint plaintiffs' lead counsel and a plaintiffs' steering committee, as well


T:\ORDERS\17\In re Equifax\case management.wpd         -5-
             Case 1:17-md-02800-TWT Document 23 Filed 12/08/17 Page 6 of 6




as plaintiffs' liaison counsel. The application process for these positions will be

discussed at the conference. The court will only consider attorneys who have filed a

civil action in this litigation. The main criteria for these appointments are (1)

willingness and ability to commit to a time-consuming process; (2) ability to work

cooperatively with others; (3) professional experience in this type of litigation; and

(4) access to sufficient resources to advance the litigation in a timely manner.

           SO ORDERED, this 8th day of December, 2017.


                                                       /s/Thomas W. Thrash
                                                       THOMAS W. THRASH, JR.
                                                       Chief United States District Judge




T:\ORDERS\17\In re Equifax\case management.wpd   -6-
